UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                      Case No. 19-20905
The Diocese of Rochester,
                                                      Chapter 11
                        Debtor.


                                  CERTIFICATE OF SERVICE


         I, Karen R. Dempski, am over the age of eighteen years, am employed by Burns Bair LLP.

I am not a party to the within action; my business address is 10 E. Doty St., Suite 600, Madison,

Wisconsin 53703-3392. I hereby certify under penalty of perjury that on the 15th day of December,

2023, I electronically filed the Monthly Fee Statement of Burns Bair LLP for Compensation for

Services Rendered and Reimbursement of Expenses as Special Insurance Counsel to the Official

Committee of Unsecured Creditors of the Diocese of Rochester for the Period November 1, 2023

through November 30, 2023 with the Clerk of the Bankruptcy Court for the Western District of

New York, using the CM/ECF system.

         I certify that on December 15, 2023, the above-referenced document was served via First

Class U.S. Mail upon the parties set forth below:

          Kathleen D. Schmitt, Esq.                 Stephen A. Donato
          Office of the U.S. Trustee                Bond, Schoeneck & King, PLLC
          Federal Office Building                   One Lincoln Center
          100 State Street, Room 6090               Syracuse, NY 13202-1355
          Rochester, NY 14614

          The Ad Hoc Parish Committee               The Diocese of Rochester
          c/o Woods Oviatt Gilman LLP               Attn: Lisa M. Passero
          Attn: Timothy P. Lyster                   Chief Financial Officer
          1900 Bausch & Lomb Place                  1150 Buffalo Road
          Rochester, NY 14604                       Rochester, NY 14624

          James I Stang
          Pachulski Stang Ziehl & Jones LLP
          10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067-4003
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                  Description: Certificate of Service , Page 1 of 2
       I also certify that on December 15, 2023, the above-referenced document was served via

electronic mail to Ilan D. Scharf at ischarf@pszjlaw.com.


Dated: December 15, 2023                           /s/ Karen R. Dempski
                                                   Karen R. Dempski




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